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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


Robson Xavier Gomes

   v.                                   Civil No. 20-cv-453-LM

US Department of Homeland Security,
Acting Secretary et. al.




                                O R D E R

    Robson Xavier Gomes, Darwin Aliesky Cuesta-Rojas, and Jose

Nolberto Tacuri-Tacuri, on behalf of themselves and all those

similarly situated, have filed an amended petition for a writ of

habeas corpus (doc. no. 5), a motion for preliminary injunction

and expedited discovery (doc. no. 7), an emergency motion for

expedited bail hearings for plaintiffs and all putative class

members (doc. no. 9), and a motion to certify civil immigration

detainees held at the Strafford County Department of

Corrections (“SCDOC”) as a class (doc. no. 14).

    On April 27, 2020, the court held a video hearing to give

parties the opportunity to address the legal standards related

to petitioners’ emergency motion for expedited bail hearings.

Doc. no. 9.    The court summarizes below the governing

principles.
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                            LEGAL STANDARD

     “[A] district court entertaining a petition for habeas

corpus has inherent power to release the petitioner pending

determination of the merits.”      Woodcock v. Donnelly, 470 F.2d

93, 94 (1st Cir. 1972) (per curiam); see also Mapp v. Reno, 241

F.3d 221, 230 (2d Cir. 2001).      In the First Circuit, a court may

grant bail to a habeas petitioner if: (1) the petitioner has a

clear case on the law and facts, or (2) exceptional

circumstances are present and the petitioner demonstrates a

substantial claim of constitutional error.        Glynn v. Donnelly,

470 F.2d 95, 98 (1st Cir. 1972); Bader v. Coplan, No. CIV. 02-

508-JD, 2003 WL 163171, at *4 (D.N.H. Jan. 23, 2003).          Because

the COVID-19 pandemic presents an exceptional health risk to

everyone, but especially detainees, the parties and the court

agree that the latter test applies in this case.         See, e.g.,

Coronel v. Decker, No. 20-CV-2472 (AJN), 2020 WL 1487274, at *9

(S.D.N.Y. Mar. 27, 2020) (concluding COVID-19 presents an

extraordinary circumstances that justifies release pending

adjudication of habeas because “[i]f Petitioners were to remain

detained, they would face a significant risk that they would

contract COVID-19—the very outcome they seek to avoid”).




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    This latter test is analogous to the test set forth by the

Second Circuit in Mapp, which requires that a court considering

bail for a habeas petitioner “inquire into whether the habeas

petition raises substantial claims and whether extraordinary

circumstances exist that make the grant of bail necessary to

make the habeas remedy effective.”      Mapp, 241 F.3d 230 (internal

quotation marks and brackets omitted).      Courts in both the First

and Second Circuits have relied on Mapp in considering whether

to grant bail to habeas petitioners who were civil immigration

detainees at risk due to the COVID-19 pandemic.        See, e.g.,

Marie Alejandra Celimen Savino, Julio Cesar Medeiros Neves, &

all those similarly situated, Petitioners, v. Steven J. Souza,

Superintendent of Bristol Cty. House of Corr. in his official

capacity, Respondent., No. CV 20-10617-WGY, 2020 WL 1703844, at

*9 (D. Mass. Apr. 8, 2020); Jimenez v. Wolf, Civ. A. No. 18-

10225-MLW, Memorandum & Order, ECF No. 507 (D. Mass. Mar. 26,

2020) (Wolf, J.); Avendaño Hernandez v. Decker, No. 20-CV-1589

(JPO), 2020 WL 1547459, at *2-4 (S.D.N.Y. Apr. 1, 2020).             The

court will be guided by these precedents in construing its

authority to order bail for habeas petitioners.

    The court will give each petitioner a bail hearing if it

finds the petitioner has demonstrated exceptional circumstances

and a substantial claim of constitutional error.        At that


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hearing, the respondents will have the burden to prove by clear

and convincing evidence that petitioner is either a danger to

the public or a flight risk.        See Hernandez-Lara v. Immigration

& Customs Enf't, Acting Dir., No. 19-CV-394-LM, 2019 WL 3340697,

at *7 (D.N.H. July 25, 2019).        If the court grants bail, the

court will impose appropriate requirements and safeguards.


                                 NEXT STEPS

    The parties agree that the legal standards set forth above

govern the court’s resolution of petitioners’ bail motion.              Doc.

no. 9.    Respondents argue, however, that petitioners have not

demonstrated a substantial claim of constitutional error and are

therefore ineligible to be released on bail.          Specifically,

respondents argue that because SCDOC has taken steps to protect

detainees from the spread of COVID-19, and because there have

been no positive COVID-19 tests at the facility, petitioners

“cannot show deliberate indifference toward their specific,

individualized COVID-19-related health concerns.”           Doc. no. 28

at 4.

    Petitioners allege that the respondents are aware of, and

have acknowledged, the safety concern presented by COVID, but

have acted with “deliberate indifference” and “reckless

disregard” to that risk by failing to facilitate social

distancing at SCDOC, mixing civil immigration detainee and

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general population inmates at SCDOC, and permitting the

continued transfer of detainees from other facilities to SCDOC

in violation of Petitioners’ due process rights.          Doc. no. 5 at

¶73.    Petitioners further allege that defendants “have no

legitimate or compelling interest in maintaining or increasing

the civil immigration detainee population at SCDOC.           ICE has a

myriad of options—other than physical incarceration—to achieve

its non-punitive purpose of ensuring Plaintiffs’ attendance to

immigration court proceedings and compliance with removal and

other custodial orders.”      Id. at ¶75.

       The court will hold an evidentiary hearing on May 1, 2020

at 10 a.m. about SCDOC’s efforts to address the COVID-19

pandemic.   No later than 5 p.m. on April 30, 2020, the parties

should file a joint statement of undisputed facts.          Each party

should also submit any exhibits it plans to reference at the

hearing, and a statement of disputed facts supported by record

citations where possible, to the court by 5 p.m. on April 30,

2020.   The court will issue rulings on disputed facts as soon as

possible after the hearing.      To the extent the court deems

individual bail hearings necessary, the court intends to start

holding those bail hearings during the week of May 4,




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2020, and will ask the parties to work together in grouping,

prioritizing, and scheduling these hearings.

      SO ORDERED.



                                  __________________________
                                  Landya McCafferty
                                  United States District Judge
April 27, 2020

cc:   Counsel of Record.




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